                In the United States District Court
                     for the District of Kansas
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                      Case No. 20-cr-40068-TC
                          _____________

                    UNITED STATES OF AMERICA

                                   v.

                       JEFFREY DAVID PIERCE


                MEMORANDUM AND ORDER

    Jeffrey Pierce is charged with several counts of production, distri-
bution, and possession of child pornography, in violation of 18 U.S.C.
§§ 2251–52, and one count of coercion and enticement of a minor, in
violation of 18 U.S.C. § 2422(b). He moves to suppress the contents
of his cell phones and of certain incriminating statements on the theory
that investigators violated the scope of their search warrant and im-
properly compelled him to provide his phone passcode. Doc. 31. For
the following reasons, Pierce’s motion is denied.

                                   I

                                   A

     The Fourth Amendment protects “[t]he right of the people to be
secure in their persons, houses, papers, and effects, against unreason-
able searches and seizures.” U.S. Const. amend. IV. Searches and sei-
zures—of people, their homes, and their personal property—are pre-
sumed unreasonable when conducted without a warrant. United States
v. Karo, 468 U.S. 705, 717 (1984). For a warrant to be valid, it must be
supported by probable cause and must “particularly describ[e] . . . the
persons or things to be seized.” United States v. Leary, 846 F.2d 592,
600, 605 (10th Cir. 1988) (quoting U.S. Const. amend. IV) (alteration
in original). Searches that exceed a valid warrant’s scope become inva-
lid. Cf. Marron v. United States, 275 U.S. 192, 196 (1927) (prohibiting
“the seizure of one thing under a warrant describing another”); Bivens
v. Six Unknown Agents of Fed. Bureau of Narcotics, 403 U.S. 388, 394 n.7
(1971); Leary, 846 F.2d at 600.



                                   1
    The Fifth Amendment has a different focus. It provides that “[n]o
person . . . shall be compelled in any criminal case to be a witness
against himself.” U.S. Const. amend. V. It prohibits the State from
bringing its powers to bear on individuals such that they are compelled
to make incriminating, testimonial communications about themselves.
See Fisher v. United States, 425 U.S. 391, 408 (1976).

    Once a defendant has shown that the Fourth or Fifth Amendment
is implicated, see United States v. Neugin, 958 F.3d 924, 930 (10th Cir.
2020), it becomes the prosecution’s burden to prove the reasonable-
ness of any search, id., and the voluntariness of any statements, see
United States v. Young, 964 F.3d 938, 943 (10th Cir. 2020).1

                                     B

    1. On September 1, 2020, the Federal Bureau of Investigations ob-
tained a warrant permitting the search of Pierce’s home and personal
property, including electronic devices. That warrant expressly incorpo-
rated an Attachment B, which permitted the search of cell phones “in
accordance with the procedures set forth in the affidavit submitted in
support of this warrant.” Doc. 31 at 3; Doc. 38 at 2, 6, 10. The affidavit,
in turn, allowed law enforcement to compel the use of a detainee’s
biometrics (e.g., facial recognition or thumb prints) to unlock phones
but expressly did “not authorize law enforcement to compel that the
device owner state or otherwise provide the password” to any device.
Doc. 38 at 33, ¶ 12(h) (emphasis added); see also Doc. 31 at 3.

    On September 2, 2020, FBI agents and task force officers, together
with officers from the Topeka Police Department, executed the war-
rant. One team searched Pierce’s home and interviewed his wife,
Keelin Pierce, while a second team separately intercepted Pierce as he
drove to work.

1 The parties presented evidence at a hearing on September 28, 2021. De-
fendant Pierce appeared in person and through counsel. The Government
presented testimony from six agents and officers involved in the Pierce in-
vestigation, from both the FBI and the Topeka Police Department. Pierce
presented testimony from his forensic expert and from his spouse. In addi-
tion to those exhibits submitted with the parties’ pleadings, see Docs. 34 &
37–38, four additional exhibits were offered and admitted into evidence.
Gov. Exs. 13 & 14; Def. Exs. 104 & 105. The parties largely agree on the
facts, disagreeing primarily about their effect.




                                     2
    a. After stopping Pierce’s vehicle, FBI task force officers directed
him to get out, presented a search warrant for his person and vehicle,
and executed the searches.2 After locating an iPhone XS in Pierce’s
pocket, agents advised Pierce of his Miranda rights and presented him
with a waiver form. Pierce indicated his verbal understanding and, on
the form, gave his written consent to “[a]t this time . . . answer ques-
tions without a lawyer present.” Doc. 37-3.

    Agents asked Pierce if he wanted to sit in their vehicle while con-
tinuing to talk. He sat in the front passenger seat, with Task Force
Officer Albers in the driver’s seat and Special Agent Davis in the back.
Albers asked whether Pierce could think of anything that would cause
law enforcement to want to talk with him. Pierce responded: “You
guys enlighten me.” Immediately after, this exchange occurred:
        Albers: Okay. All right. So, um, I did notice that you have,
        uh, a phone with you, right?
        Pierce: Mm-hmm.
        Albers: Okay. Um, what’s the...what’s the passcode on that
        phone?
        Pierce: I don’t think I’ll give that out unless I’m forced to
        on something obviously.
        Albers: Okay, yeah, just, uh, just so I kinda know where
        you’re coming from, what’s the...what’s the reasoning?
        Pierce: Well, first of all, Fourth Amendment would be the
        big one.
        Albers: Okay.
        Pierce: That nobody can just go through any of my prop-
        erty without proper due process would be number one.
        Albers: Sure. Okay. Uh, any...any other concerns or...
        Pierce: No.
        Albers: So, just the...the Fourth Amendment?

2The Government contends that Pierce was not in custody at this point or
at any point during his interview. Doc. 37 at 28. Pierce has not argued other-
wise. See Docs. 34 & 39.




                                      3
Pierce: Yeah.
Albers: Okay. Um, so...
Pierce: I mean, I hope... I guess on top of that too, nobody
ever really showed me a search warrant too.
Davis: I’ve got one right here.
Albers: Yeah.
Pierce: Can you show me, like, what it’s all for or...
Albers: Yeah, yeah...
Pierce: I guess just the paperwork so if I’d like to just [in-
audible], I’d like to know, to be honest with you.
Albers: Yeah. You bet. So, I ... I’ll give you a second to
kind of review that.
Pierce: So, when it says, like, “searching,” that’s, like, I ...
I don’t know how any of this works.
Albers: Mm-hmm.
Pierce: Like, you’re searching the whole house? All the ve-
hicles? I don’t understand what that means.
Albers: Yeah, so, our ... our ... Yeah, our goal is, um, uh,
right now it’s kinda broad, um, and what we attempt to do
is kinda narrow it down because obviously, um, peo-
ple...other people in the house have...have devices that we
may not necessarily need, um, but we don’t know that until
we talk with people. Um, so, right now, it’s kinda broad,
but with a little cooperation, we’re able to kinda narrow
it...narrow it down to the...the specific, uh, items that ... that
we may be, uh, in need of. Um, so, yeah, it’s ... it’s ... it’s for
the entire house, for all electronic devices, um, uh.
                               ***
Pierce: I don’t understand [inaudible].
Albers: All right. [Laughter]
Davis: There will be a copy left for you at the residence so
you can definitely take a look at it afterwards too.
Pierce: Okay.




                              4
        Albers: We’ll make sure everything...
        Pierce: How long does that take at the house? Because ob-
        viously she needs to get to work too, and...
                                       ***
        Albers: Okay. So [ . . . ] if she’s gotta go to work, she can
        go to work or ... or whatever, so. Um, I ... I ... I can speak
        for many people that we work with that we try to accom-
        modate as much as possible, um, uh, and empathize with
        ... with people and situations, so. Um, so, yeah, I don’t ... I
        don’t foresee it being ... being a lengthy process. Um, as ...
        as ... as far as your ... your phone, um, uh, you know, we
        will have to take a look at it, based on some information
        that ... that we’ve received. So, whether you wanna give us
        the passcode or ... or we obtain it, um, through a different
        way, it ... it’s up to you, but, um, a little cooperation goes a
        long way. Um, you were worried about the Fourth Amend-
        ment, the ... and the search warrant does cover your ... your
        phone, so there is legal ... legal process with that, okay? Um,
        I noticed there’s ... there’s a four ... four-digit code.
        Pierce: It ... it ... I don’t even remember what it is, I use
        face recognition on it, so I have no idea.

Doc. 34-3 at 6–10; Doc. 38-6 at 7–11.3

    At this point, Task Force Officer Moore, who had been listen-
ing to the interview from his own vehicle, approached, holding
Pierce’s iPhone.

        Moore: Hi there. I don’t know if you noticed on the war-
        rant, but it does include your biometrics.
        Pierce: Okay.
        Moore: So, that which...basically what that means is we can
        use your facial recognition to get into the phone, okay? So


3 These documents are identical transcripts of Pierce’s interview (the former
is Defendant’s exhibit and the latter is the Government’s). The audio was
submitted as Doc. 38-5. Hereinafter citations to the transcript will be only to
Doc. 34-3.




                                      5
that’s what we’re gonna go ahead and do. Okay. Now, on
your phone ...
[inaudible crosstalk]
Pierce: It doesn’t...it doesn’t always work to where it’s...
Moore: Okay. Listen. Okay, I ... I do this for a living so I
know that after a certain time goes by, you have to enter
your passcode to enable facial recognition, okay? So, I ... I
know you know your password, okay. I ... I really don’t
wanna make ...
Pierce: Well, probably soon if I guessed, yeah.
Moore: Listen. I don’t wanna make this any harder than it
has to be, okay? We’re the FBI. We’re gonna get into your
phone. Okay? All we have to do is drive this phone to our
forensic lab and they’re gonna unlock it for me in a couple
hours. All right? Like he said — a little cooperation goes a
long way. All right? I don’t know everything you’re into, all
right? But we’re ... I’ve done police work in one way, shape,
or form for 16 years, okay? He’s right — a little coopera-
tion does go a long way. Okay? And, you know, like he said
that, you know, this involves your house and your wife and
your kids and stuff like that, so the more we can, you know,
figure out what’s going on, the easier it’s gonna be on all
them.
Pierce: So, a search warrant on a phone isn’t a separate
thing. It’s on that search warrant?
Davis: Yes, it’s on the search.
Albers: Yeah, the search warrant is covering everything in-
cluding...including your cars.
                              ***
Moore: All right. So, what...what is your passcode for this
phone so we can speed this along a little bit?
Pierce: I’ll put my face on it. I ... I usually use my face. I ...
                              ***
Moore: ... it’s ... you’ve got it to where you have to put the
passcode in to enable your face. Okay? So, I know you
know the passcode to this phone.




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        Pierce: Well, I ... It’s either one of two things.
        [inaudible crosstalk]
        Moore: Go ahead and type it in.
        Pierce: There you go.

Doc. 34-3 at 10–13. By comparing the time that Pierce signed his
waiver-of-rights form (7:33 a.m., or minute mark 4:52 of his interview)
with the point in his interview at which Pierce provided this passcode
(minute mark 16:47), the Government was able to show that Pierce
surrendered this passcode sometime between 7:44 a.m. and 7:45 a.m.

     Taking the unlocked iPhone, Moore returned to his vehicle, while
Albers and Davis continued their interview. Although Moore and the
iPhone were no longer present this portion of the interview began with
Albers telling Pierce that Moore was conducting a concurrent search
of the phone. Doc. 34-3 at 14 (“[H]e’s starting [to] look at your phone
…. [W]hat is on the phone [that] you think we would, uh, be interested
in [as] it relates to, uh, child exploitation matters?”). Pierce then spoke
with the investigators for over two hours and made several inculpatory
statements. Questioning during this portion of the interview was
guided, in part, by materials the FBI had obtained via subpoenas to
AT&T and Comcast, as well as information obtained from Pierce’s al-
leged victims. See Doc. 37 at 21–22 (summarizing transcript’s con-
tents). But in addition to those materials, Albers and Davis made fre-
quent references to Moore’s ongoing, real-time examination of Pierce’s
phone. See, e.g., Doc. 34-3 at 21–22, 38, 56, 89, 92–93, 94, 156.

    Shortly before the three-hour mark, Moore approached the vehicle
again to question Pierce about his use of an iPhone application known
as Grindr.4 See Doc. 34-3 at 108. Moore’s questions were premised di-
rectly on the contents of Pierce’s unlocked iPhone, and they elicited
more inculpatory statements. Doc. 34-3 at 117–26. The interview with
Davis and Albers then continued for another hour.

4Grindr is reported to be the largest location-based social networking and
dating application for gay, bisexual, transgender, and queer people. See United
States v. Wise, Case No. 20-102, 2021 WL 5016013, at *1 n.1 (D.N.J. Oct. 28,
2021) (slip op.). Agents’ interest in Pierce’s use arose from concern that he
had used the application to communicate with underage persons. See, e.g.,
Doc. 34-3 at 115.




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    During the interview, other officers searched Pierce’s vehicle and
recovered another phone, an iPhone 5. About three-and-a-half hours
into the interview, Davis asked Pierce for the passcode to that phone,
and Pierce confirmed it had the same code as the iPhone XS. Doc. 34-
3 at 137–39. A TPD detective who specializes in cell phone forensic
examinations subsequently examined both iPhones using GrayKey—
a law-enforcement-use-only forensic device. GrayKey was not, how-
ever, used to open the phones, which were unlocked for the examina-
tion using the passcode that Pierce provided.

    b. At the same time that Albers, Davis, and Moore were interview-
ing Pierce, another team of investigators was searching Pierce’s home
and interviewing his wife, Keelin Pierce.5 The team arrived in force,
blocked the driveway, and conducted an armed sweep of the residence.
They also prevented Keelin from calling her office until they had com-
pleted their initial activities in the home. Pursuant to the warrant—the
validity of which Pierce has not challenged—officers collected Keelin’s
phone along with the other electronics in the home and did not allow
her to use any of those devices without their supervision.

    Keelin, the principal of a local school who was preparing to leave
for work, testified about how the officers overwhelmed her and her
home. She also testified that the officers did not tell her she was free
to leave. Still, Keelin gave them permission to conduct a recorded in-
terview of her, and that recording shows that agents expressly in-
formed Keelin that she was free to end the conversation and leave the
home at any time:

       You can walk out of this house at any time and say, “. . . I
       don’t want to talk to you any more or anything.” We’d be
       glad to explain everything to you. And we’ve got some
       other information to share with you as well. But at any time
       you go, “You know what I’m done, I want to go to my
       kids, I want to do whatever.” We do have a search warrant
       for the house, so we will be here for a little while. So at any
       time, if you want to leave and end the interview, you’re free

5 For purposes of clarity, this Memorandum and Order will refer to Ms.
Pierce as “Keelin” to avoid any confusion with Defendant Pierce.




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        to leave, you’re not under arrest, you’re not going to jail
        today. Any of those kinds of things, that make sense?

Doc. 38-4; see also Ex. 104 at 3. Although there is little doubt that
Keelin, as she testified, felt extreme emotion during this interview, the
audio recording shows that both she and investigators maintained a
calm tone, speaking softly and unhurriedly. Investigators answered
Keelin’s questions; she answered theirs; and no one raised his or her
voice, threatened adverse consequences, or overtly attempted to esca-
late the situation.

    Over the next 15 minutes, Keelin answered several questions rele-
vant to the current motion to suppress, including one about Pierce’s
iPhone passcode. She stated that it was “just the end of his phone
number.” Doc. 38-4; see also Ex. 104 at 7. Again by reconstructing time-
lines (using Keelin’s 7:38 a.m. call to her office as a reference point),
the Government presented evidence that Keelin provided Pierce’s
passcode between 7:42 a.m. and 7:43 a.m., approximately two minutes
before Pierce himself provided the passcode.

    Keelin spoke with investigators for about an hour. She then indi-
cated that she wished to terminate the interview by asking whether she
“could go . . . to [her] family now.” Investigators immediately re-
sponded, “Absolutely.” They then asked her to wait for a few minutes
so that they could finish with her cell phone and let her leave with it.
They did not, however, ask her any more questions while completing
their review of her phone. Doc. 38-4; see also Ex. 104 at 29.

     Although Keelin’s interviewers did not contemporaneously share
the passcode with Pierce’s interviewers, testimony established that that
would have been standard practice if Pierce had not already provided
it. Specifically, several of these agents testified that—when a person
declines to provide their passcodes or other vital information—stand-
ard procedure is to contact the person’s spouse, intimate partner, or
other close relations to try to obtain the passcode from them. Special
Agent Forgues-Schlenker, one of Keelin’s interviewers, testified that
he keeps his phone’s ringer turned up and periodically checks his
phone during interviews precisely because he knows that information
often needs to be passed among investigative teams. Davis, who was
in the vehicle with Pierce, testified that contacting Keelin’s team would
have been the next step if Pierce had refused to provide his passcode.
Davis could not testify as to when this would have occurred (i.e., during




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or after Pierce’s interview concluded), because it would have been
Moore—who was listening to Pierce’s interview from his own vehi-
cle—who would have made that call. But Moore himself testified that,
per his standard practice, if Pierce had refused to provide his passcode,
Moore would have promptly called the agents with Keelin while Davis
and Albers continued their interview of Pierce.

    2. The Government ultimately charged Pierce with engaging in a
series of electronic communications, mostly by way of his iPhones,
that constitute production, possession, and distribution of child por-
nography. See Doc. 25. Pierce moved to suppress the cell phone evi-
dence and the inculpatory statements made during his initial interview
because, he contends, agents violated their search warrant by improp-
erly compelling him to provide his iPhone passcode. See Doc. 31. The
Government, in addition to arguing that it did not violate Pierce’s
rights, argues that suppression is unwarranted for three reasons: there
was an independent source for the passcode (Keelin), the investigators
acted in good faith, and the passcode’s discovery was inevitable. See
Doc. 37.

    This last argument—inevitable discovery—raised fact questions
about the Government’s technological capabilities. Essentially, the
Government argued that even without the passcode, GrayKey would
have unlocked or otherwise permitted unfettered access to Pierce’s
iPhones. Doc. 37 at 36–37 (claiming an ability to obtain 95 percent or
more of the data through GrayKey).6 While other software programs
can deliver similar results if an iPhone is in a certain status (known as
AFU, which stands for “after first unlock”), Pierce and his forensic
expert, Michelle Bush, contended that such success is highly question-
able when the iPhone is in a different status (known as BFU, which
stands for “before first unlock”). Doc. 40. Bush has based her opinions
on the complexity and pervasiveness of Apple’s security systems and
the capabilities of similar programs available on the market. See Doc.
40.

    To verify GrayKey’s capabilities, Pierce moved to compel the
Government to permit testing of GrayKey and its limitations. Doc. 40
at 4–5. The information Pierce sought was material to Pierce’s defense

6 At subsequent hearings, the Government clarified that it is only claiming
inevitable discovery, via GrayKey “brute force attack,” for Pierce’s iPhone 5,
and not for his newer-model iPhone XS.




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and subject to production under Fed. R. Cr. P. 16(a)(1)(E). See Doc.
48. But given the highly confidential nature of the GrayKey technol-
ogy—and the legitimate interests in keeping it confidential—the scope
and manner of this production was limited. Doc. 48. The parties were
asked to confer on appropriate limitations but could not agree on the
scope or format of the testing and, as a result, submitted separate pro-
posed protocols for production and testing. Docs. 53–54. At a hearing
on July 14, 2021, see Doc. 55, the Court adopted the Government’s
proposal with one exception: that defense counsel be permitted to take
notes on testing, subject to a protective order.

    Consistent with these protocols, Bush and counsel for both parties
observed a demonstration wherein GrayKey personnel plugged
Pierce’s iPhone 5 into a GrayKey device. The GrayKey device was not
the same physical device that the TPD used to conduct its original ex-
amination of Pierce’s phone but operated the same version of
GrayKey software used in September 2020. Pierce’s iPhone 5 was in
BFU mode during the test, and after booting up, it took the GrayKey
device approximately 21 seconds to correctly identify Pierce’s four-
digit passcode. See Exs. 13 & 14.

                                    II

    Pierce’s motion to suppress is denied. Two independent bases pre-
clude relief.7 First, the Government did not improperly compel Pierce
to testify against himself. Second, the Government has sufficiently es-
tablished that Pierce’s wife, Keelin, independently, voluntarily, and
contemporaneously provided Pierce’s passcode.

                                    A

    Pierce argues that law enforcement officers unlawfully obtained his
iPhone passcode. Specifically, he contends that they told him the war-
rant required him to provide the passcode to them when, in fact, the
warrant expressly stated that officers could not “compel that the device
owner state or otherwise provide the password or any other means that

7 The Government also asserts that suppression is not required because it
would have inevitably obtained Pierce’s passcode by use of the GrayKey
technology and, in any event, operated in good faith. Doc. 37 at 2–3. Those
arguments need not be reached because Pierce’s and Keelin’s disclosures of
the passcode were permissible.




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may be used to unlock or access the devices.” Doc. 31 at 1, 10–11.
That misrepresentation, Pierce contends, “created a situation in which
it became impossible for Pierce to offer this passcode consensually,”
and his statements were therefore compelled in violation of the war-
rant. Doc. 31 at 12–13 (citing Bumper v. North Carolina, 391 U.S. 543,
548–50 (1968)). That argument fails for several reasons.

    First, the officers did not mislead Pierce into believing that the
warrant required him to provide the passcode. The transcript of the
encounter confirms that the officers asked Pierce for his passcode, and
he indicated that he would not provide it because, among other things,
there was not a warrant permitting the search of his phone. In re-
sponse, the officers produced the warrant authorizing the search of his
phone. After giving Pierce an opportunity to review the warrant, the
officers answered questions that Pierce had about the warrant’s execu-
tion at his home.

     One of the things that officers discussed with Pierce was biomet-
rics. The officers accurately advised Pierce that the warrant authorized
them to obtain Pierce’s biometrics to open the phone. Once Pierce
complied with their instructions to use his facial biometrics and they
failed to open the phone, the officers explained that the iPhone re-
quired the passcode to unlock. At this point, the officers explained that
if Pierce did not cooperatively provide the passcode, to expedite the
process for him and his family, the officers would take the phone to
their local facility and would unlock it using the tools at their disposal.
At that point, Pierce voluntarily provided the passcode.

    While Pierce claims that the officers falsely told him that the war-
rant “required him to provide” the passcode, Doc. 31 at 13, he points
to nothing in the transcript that supports his claim. That failure renders
his invocation of Bumper inapposite. In Bumper, the Court held that
consent to search a home based on a false claim that a warrant author-
ized the search is no consent at all. Bumper, 391 U.S. at 549–50 & n.15
(explaining the State never produced the warrant on which officers al-
legedly relied). Here, the officers produced the warrant to Pierce for
inspection, accurately told him the warrant authorized them to compel
his biometrics if necessary to open the phone, and asked him to pro-
vide the passcode when the biometrics failed to give them access. Put
simply, there was nothing misleading about their comments.

  Second, Pierce was not compelled—in either the traditional Fifth
Amendment sense or as that word is used in the warrant—to provide



                                    12
the passcode.8 The concept of a compelled statement more frequently
arises when evaluating whether an accused’s confession is voluntary.
See McKune v. Lile, 536 U.S. 24, 35–36 (2002). Impermissible compul-
sion arises when an accused’s statements, under the totality of the cir-
cumstances, are the product of government action that overcame the
accused’s will and “capacity for self-determination.” United States v.
Lopez, 437 F.3d 1059, 1063 (10th Cir. 2006); see also United States v.
Young, 964 F.3d 938, 943 (10th Cir. 2020).

    Impermissible compulsion can occur in a variety of ways. The clas-
sic example is physical violence or deprivation. See, e.g., Berghuis v.
Thompkins, 560 U.S. 370, 386–87 (2010) (no coercion where there was
no evidence that police threatened, injured, or otherwise made the ac-
cused fearful). But other, more subtle efforts can also be compulsive
or coercive. See, e.g., United States v. Harrison, 639 F.3d 1273, 1278 (10th
Cir. 2011) (“We have repeatedly held that deception and trickery are
among the factors that can render consent involuntary.”) (Fourth
Amendment context). Yet not every ruse or act of trickery will render
a confession involuntary. See, e.g., Frazier v. Cupp, 394 U.S. 731, 739
(1969); United States v. Unser, 165 F.3d 755, 766–67 (10th Cir. 1999);
Lucero v. Kerby, 133 F.3d 1299, 1311 (10th Cir. 1998); see also Berghuis,
560 U.S. at 387 (rejecting argument that invoking religious or morality
issues rendered statement compelled).

    There are no facts to suggest that Pierce was compelled, impermis-
sibly or otherwise, to provide his passcode. At most, officers high-
lighted their ability to lawfully collect Pierce’s devices and biometric
information, created a sense of time pressure, and stated that his pro-
vision of the passcode would make the process easier for Pierce and
his family. They did not threaten Pierce with adverse consequences—
under the warrant or otherwise—if he refused to comply. Instead, they
represented that if he declined to provide the passcode, forensic



8 It does not appear that the Tenth Circuit has determined whether the
passcode to an iPhone is testimonial information. Pierce cites nonbinding
authority from other jurisdictions to suggest a passcode is testimonial, Doc.
31 at 10, and the Government does not dispute that contention. See Doc. 37
at 32–34. This Memorandum and Order assumes, without deciding, that
Pierce’s passcode was the type of information that the Fifth Amendment
protects.




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examiners would discover it within hours. They simply asked for
Pierce’s cooperation, and he provided it.

     Moreover, there is no evidence to suggest Pierce is someone whose
will would be easily overcome. See Lopez, 437 F.3d at 1065–66. The full
contents of Pierce’s interview show him to be an intelligent, capable
adult with a full command of the English language, the ability to readily
parse questions and instructions, and the presence of mind to make
considered responses. The Government has therefore carried its bur-
den of showing that Pierce provided his passcode voluntarily and not
as the product of unlawful tactics.

                                    B

    Even if the officers had unlawfully obtained the passcode from
Pierce, he would not be entitled to suppression because the Govern-
ment has established that it had already obtained the same information
from an independent source. Specifically, Pierce’s wife, Keelin, pro-
vided Pierce’s passcode to agents before Pierce did.

    The independent-source exception permits the admission of un-
lawfully seized evidence if the same evidence has been “discovered by
means wholly independent of any constitutional violation.” Nix v. Wil-
liams, 467 U.S. 431, 441–44 (1984) (citing Silverthorne Lumber Co. v.
United States, 251 U.S. 385, 392 (1920)). In other words, it does not
salvage evidence obtained in impermissible ways; it merely prevents
the exclusionary rule from extending to identical evidence validly ob-
tained by other means. See id. at 443–44; United States v. Griffin, 48 F.3d
1147, 1150 (10th Cir. 1995). The prosecution bears the burden of
showing “that there is truly an independent source for the challenged
evidence,” meaning that the evidence in question was obtained “by
‘means sufficiently distinguishable to be purged of the primary taint’”
and never “by the exploitation of the illegality.” United States v. Forbes,
528 F.3d 1273, 1278–79 (10th Cir. 2008) (quoting Wong Sun v. United
States, 371 U.S. 471, 488 (1963)).

    The record confirms that investigators independently obtained
Pierce’s passcode from his wife, Keelin. The parties agree that the
search warrant executed at Keelin’s home was valid and that Keelin
was not a suspect. The evidence shows that agents expressly informed
Keelin that she was free to leave at any time and that when she first
indicated she would like to leave, agents immediately honored that




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request. Despite that, Keelin spoke to them freely and voluntarily pro-
vided the passcode to Pierce’s phones.

    Moreover, the Government established that Keelin provided the
code before Pierce did. The officers credibly testified that had Pierce
refused to provide his passcode, Moore would have called Keelin’s in-
terviewers, while Pierce’s interview was ongoing, to obtain the
passcode. In other words, agents would still have gained access to
Pierce’s phone in real time and would have been able to conduct the
same, or sufficiently similar, questioning of Pierce that elicited the in-
culpatory statements at issue. That is sufficient to satisfy the Govern-
ment’s burden of showing that it independently obtained the same in-
formation “by means sufficiently distinguishable” from the allegedly
tainted source. Forbes, 528 F.3d at 1278.

     Pierce argues that the statements Keelin made should be excluded
because they too were improperly obtained. He suggests that the gen-
eral environment of Keelin’s interview was coercive and that the agents
misrepresented the warrant to Keelin just as they had to Pierce.9

    That contention also fails. Not only has Pierce failed to establish
that the agents misrepresented the warrant to him (or Keelin), but the
conversation that agents had with Keelin was also markedly different
from the conversation with Pierce. Agents did not reference the war-
rant when they asked Keelin to provide Pierce’s passcode. Nor did they
in any way imply a connection between the two. Instead, agents de-
scribed the warrant as for the home, the vehicles, and Pierce’s person.
See Doc. 39 at 9 (“[F]or your address. Um, looks like we’ve got some
vehicles on there—your van, um, your husband’s SUV, and your truck.
Um, and then there’s a part for your husband’s person as well.”). An-
other agent added that the warrant also included “digital media” and
told Keelin that officers would need to “look through” all of the

9 The parties were invited to submit briefs concerning Pierce’s standing to
challenge the circumstances of his wife’s interview. The Government sub-
mitted a supplemental brief, but that brief did not address the question. Doc.
64. Pierce’s supplemental brief indicates that the Tenth Circuit has not con-
fronted the issue, but cites cases from other jurisdictions indicating he does
have such standing. Doc. 66 (citing United States v. Johnson, 380 F.3d 1013 (7th
Cir. 2004); United States v. Scott, 270 F.3d 30 (1st Cir. 2001); State v. Ackward,
128 P.3d 382 (Kan. 2006)). That issue need not be resolved here because
Keelin was not compelled to provide the passcode information.




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household devices and would potentially remove some of them from
the house. See Doc. 39 at 9. The request for Pierce’s passcode came
separately—several minutes later—when investigators also asked for
the couple’s birthdates, Social Security numbers, and children’s names.
Doc. 38-4; see also Ex. 104 at 7–8. Unlike Pierce, Keelin did not hesitate
when asked for Pierce’s passcodes. Nor did she attempt to assert any
rights or invoke any privileges on either her own behalf or on behalf
of Pierce. Although the situation was no doubt stressful, it was a non-
custodial interview, and Keelin herself was not suspected of any crime.

    Nor is this a situation where Keelin was especially susceptible to
manipulation or otherwise duped into providing the information. The
interview occurred in her home, and based on her role as principal of
a local school, it can be inferred that she is highly educated, intelligent,
and capable of making sound judgments. Based on this record, the
Government has sufficiently established that Keelin voluntarily pro-
vided the passcode to Pierce’s iPhones.

                                    III

  For the foregoing reasons, Pierce’s motion to suppress, Doc. 31, is
DENIED.

    It is so ordered.



Date: November 22, 2021                    s/ Toby Crouse
                                          Toby Crouse
                                          United States District Judge




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